Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 1 of 10 Page ID #:379


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          R2 Cyber has prepared the following report for use in the litigation styled VPN.com LLC
  v. George Dikian, pending in the Central District of California. Rod Rasmussen, the principal
  consultant at R2 Cyber, prepared this report and attaches his curriculum vitae to this report,
  which includes a list of all publications that he has authored in the previous 10 years. Mr.
  Rasmussen has not testified as an expert by deposition or at trial in any other case in the previous
  4 years.

          Mr. Rasmussen is an expert in cybersecurity operations and policy. He founded an early
  cybersecurity company, Internet Identity, in May 2000. He was President and Chief Technical
  Officer of that company for nearly sixteen years. Internet Identity provided cybersecurity
  software and services to a large array of companies all over the world. In particular, Mr.
  Rasmussen advised companies as to cybersecurity threats such as business email compromise,
  and built teams and systems designed to investigate and mitigate phishing and fraud scams.

          In 2012, Mr. Rasmussen was appointed to the Security & Stability Advisory Committee
  of ICANN. The SSAC is tasked with analyzing internet security threats and providing advice to
  the ICANN Board, and to the internet community at large, as to how such threats should be
  analyzed, investigated, and mitigated. Mr. Rasmussen was elected Chair of the SSAC in 2017,
  and is currently serving his second three-year term in that role. Mr. Rasmussen joined the
  Messaging, Malware, and Mobile Anti-Abuse Working Group M3AAWG in 2004, and has
  served as an Expert Advisor to M3AAWG since 2020. M3AAWG is a worldwide industry
  organization that focuses on the abuse of various messaging systems, with a particular emphasis
  on email and Mr. Rasmussen has routinely contributed to M3AAWG publications on such
  topics. Mr. Rasmussen has been a member of the Anti-Phishing Working Group (APWG) since
  2004, serving in a variety of leadership positions and publishing fundamental research on
  phishing activities and techniques over many years. Mr. Rasmussen has been a contributing
  member of several other industry organizations including the Forum for Incident Security Teams
  (FIRST), Online Trust Alliance (OTA), and the FCC’s Communications Security, Reliability,
  and Interoperability Council (CSRIC).

          Mr. Rasmussen is compensated at the rate of $500/hour for the study and preparation of
  this report, and for any testimony to be given by deposition and/or at trial of this matter. To date,
  Mr. Rasmussen has worked 12.5 hours in this matter.

         Mr. Rasmussen’s analysis and opinions are as follows:

  Business Email Compromise Fraud Definition and Prevalence

  Opinion: Business Email Compromise Fraud is extremely common.

  Analysis: According to the Federal Bureau of Investigation’s 2022 Report to Congress entitled
  “Business Email Compromise and Real Estate Wire Fraud”, Business Email Compromise Fraud


  June 26, 2023                                                                                       1
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 2 of 10 Page ID #:380


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  (BEC) is the single most costly crime: “[f]or the past several years, BEC has consistently been
  the largest dollar loss by victim crime typology reported to IC3, with over $2.4 billion of
  adjusted losses in the calendar year 2021.” (Attachment 1, FBI report, pg. 7). BEC has become
  incredibly common, with 241,206 reported BEC incidents between 2016 and 2021 totaling over
  $43 billion in stolen funds. (FBI pg. 13). Furthermore, “IC3 has received an increased number of
  BEC complaints involving the use of cryptocurrency.” (FBI pg. 13). The FBI explains
  BEC/EAC as follows:

     Business Email Compromise/Email Account Compromise (BEC/EAC) is a sophisticated
     scam that targets both businesses and individuals who perform legitimate transfer-of-funds
     requests. The scam is frequently carried out when an individual compromises legitimate
     business or personal email accounts through social engineering or computer intrusion to
     conduct unauthorized transfers of funds. (FBI pg. 12).

  Business Email Compromise Fraud Against VPN.com

  Opinion: The evidence revealed by internet service records and email records proves to a
  reasonable certainty that the gdikian@yahoo.com Yahoo! Mail address was compromised by an
  unauthorized actor. Once that account was compromised, the fraudster had access to previously
  sent emails which included login credentials for Dikian’s HostGator webhosting account. Both
  accounts then were used in furtherance of the alleged fraud on VPN. Once Dikian was alerted
  that the Yahoo! Mail address was compromised, he closed off unauthorized access to it by
  changing the password and deploying two-factor authentication for the account. Shortly
  thereafter, a new Gmail address was created, george.dikian@gmail.com, which was then used to
  complete the fraud. Clear evidence from Yahoo!, Google and HostGator shows access at critical
  times to the Yahoo! Mail and HostGator accounts from two foreign ISPs (one in Portugal, the
  other an international VPN service), which were also used to create the new Gmail address, and
  later to delete both that address and rhwdomains@gmail.com within twelve minutes of one
  another. This proves to a reasonable certainty that the same actor was responsible for all of that
  activity. It also proves to a reasonable certainty that this activity was performed from within
  Portugal.

  Analysis: On January 28, 2022, access to the Yahoo! Mail account g.dikian@yahoo.com was
  evidenced by the Yahoo! IP Login Report, which shows the IP address 88.214.185.175 was used
  to login. (Attachment 2, Yahoo! Subpoena Response).
          Those records show use of two foreign ISPs to access that account. The Portuguese
  internet service provider “MEO - Servicos de Comunicacoes e Multimedia S.A.” (no VPN used
  with MEO) and the internet service provider “Packethub S.A.” (also known as NordVPN).
  (Attachment 2, Yahoo! Subpoena Response). The internet IP addresses from the Yahoo! Account
  have been checked against https://whatismyipaddress.com/ to determine the ISP and location of
  each respective IP address, and logged to Attachment 3, “Dikian - Yahoo Google HostGator ISP
  Analysis”. The orange and red lines represent logins from the two foreign ISPs.


  June 26, 2023                                                                                    2
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 3 of 10 Page ID #:381


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          The cybercriminal gained access to Dikian’s account at Hostgator.com between April 4,
  2022 and May 2, 2022. The compromised Yahoo! Mail account contained a 2017 sent email
  from that account to Dikian’s web developer at that time (Daniel Rapaport), which contained
  login info for the Hostgator account. (Attachment 7). This account also was accessed through
  the same foreign ISPs, MEO Wifi Customers NAT and Packethub S.A., along with one login
  from LVNET Ltd., which is listed as a “public proxy server” on whereismyip.com:




  After the account was accessed, the subdomain intermediar.89.com was created within Dikian’s
  89.com domain name, which subdomain was later used to further the alleged fraud.

          The Gmail addresses rhwdomains@gmail.com and george.dikian@gmail.com were used
  in furtherance of the alleged fraud. First, rhwdomains@gmail.com was used as the address of a
  potential buyer of 89.com. Later, george.dikian@gmail.com was used as the purported seller’s
  email address, after Dikian was alerted to the compromise of g.dikian@yahoo.com and changed
  the password to lock out the hacker, as set forth further below. Records subpoenaed from
  Google show the creation date and the deletion date – just twelve minutes apart -- of each of
  these Gmail addresses as follows:




  June 26, 2023                                                                                   3
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 4 of 10 Page ID #:382


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  ---------------------------------------------------------------------------




  (Attachments 4 and 9, from Google Subpoena Response).

  Given that the two email addresses were deleted within just twelve minutes of each other, after
  VPN.com and Dikian began investigating this matter, it is obvious that those two Gmail
  addresses were almost certainly controlled by the same person -- who impersonated both the fake
  buyer and seller in the alleged fraudulent transaction.

          VPN.com was approached through rhwdomains@gmail.com on March 7, 2022, asking
  that VPN.com act as broker to purchase the domain name 89.com. VPN.com then sent email to
  g.dikian@yahoo.com, which was listed in the public WHOIS record for that domain name.
  Additionally, the fact that VPN.com requested a phone call with Dikian multiple times, but was
  refused, could have alerted VPN.com to the fact that they were the victim of a Business Email
  Compromise scheme, as this is another very common tactic used in furtherance of such scams.
  On March 7, 2022, Sharjil Saleem of VPN.com wrote “George, Can you give me a call at +1 315


  June 26, 2023                                                                                    4
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 5 of 10 Page ID #:383


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  675 4078, We can discuss it over phone?”, to which the cybercriminal replied that he would only
  use email:




  (Attachment 10).
          Between March 7, 2022 and March 11, 2022 that Yahoo! Mail address was used to
  communicate with VPN.com, pretending to negotiate terms for the sale of 89.com, with a final
  email to VPN.com sent from g.dikian@yahoo.com on March 11, 2022. That email stated as
  follows:




  June 26, 2023                                                                                  5
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 6 of 10 Page ID #:384


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        (See Attachment 5, produced by VPN.com).
          However, on March 16, 2022, an acquaintance of Dikian sent a WHATSAPP message to
  him letting him know about suspicious activity from the g.dikian@yahoo.com address.
  (Attachment 6, WhatsApp Conversation).




  June 26, 2023                                                                          6
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 7 of 10 Page ID #:385


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         As a result of this conversation, Dikian immediately changed the password on the Yahoo!
  Mail address g.dikian@yahoo.com, as evidenced by the logs received in response to subpoenas
  to Yahoo!, which show the password was changed on March 16, 2022. According to
  www.whatismyip.com, the IP address <2601:6c0:c202:3430:3c46:765f:a03d:751e pw_chg>,
  which was used to change the password for g.dikian@yahoo.com is traceable to Naples, Florida,
  which is near Dikian’s place of residence. By the next day, the cybercriminal’s sessions with
  Yahoo! Mail had ended permanently. (See Attachments 2 and 3).




  (Attachment 2, Yahoo Subpoena Response, pg. 4). This document shows the exact date, March
  16, 2022, that Dikian first changed the password on his Yahoo! Mail account in effort to stop
  unauthorized access to the account. Two days later, he enabled two-factor authentication in the
  account. Had Dikian been behind this fraud, he would have had no reason to stop using


  June 26, 2023                                                                                     7
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 8 of 10 Page ID #:386


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  g.dikian@yahoo.com. He likely would not have locked himself out of that account and then
  continued the fraud with a new email account.

          Dikian discussed with Kris Hou on April 23, 2022 that he was the target of an identity
  theft scheme. (Attachment 8, Kris Hou Email).

          As noted above, IP Analysis clearly indicates that there was substantial activity from
  “MEO – Servicos de Comunicacoes e Multimedia S.A.” and “Packethub S.A.” between January
  28, 2022 and March 17, 2022. However, immediately after Dikian changed his password, all
  suspicious activity in his account stopped permanently. (See Attachment 3). Moreover, email to
  VPN.com from g.dikian@yahoo.com was last sent during login of a suspicious IP address on
  March 11, 2022, and never again were any suspicious email sent from that account after that.
  This IP data, along with the corroborating email and SMS communications, paints a clear picture
  that g.dikian@yahoo.com had been compromised.
         After losing access to g.dikian@yahoo.com, the fraudster created the new Gmail address
  George.Dikian@gmail.com shortly thereafter on March 17, 2022. (See Attachment 9). Then
  email communications resumed with VPN.com from that email address on April 12:




          The Google subpoena response indicates that that the same ISPs which were used to
  access g.dikian@yahoo.com were used to log into the newly minted george.dikian@gmail.com.
  This is clear proof that whoever compromised the Dikian Yahoo! Mail address also created this
  false Gmail account. Moreover, a comparison of the fake buyer’s email
  RHWDomains@gmail.com and George.Dikian@gmail.com show that they were deleted within
  twelve minutes of each other on October 13, 2022. This is obvious proof that both of these
  emails – both sides of the fraudulent transaction alleged by VPN.com – were created and
  controlled by the same actor.
        That actor made frequent use of the ISP “MEO – Servicos de Comunicacoes e
  Multimedia S.A.” which is not a virtual private network and is located in Portugal. This is clear


  June 26, 2023                                                                                       8
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 9 of 10 Page ID #:387


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  evidence that the perpetrators of this fraud are most likely located in Portugal. Dikian’s travel
  records should prove that he did not visit Portugal during 2022.
          Between April 4, 2022 and May 2, 2022, the cybercriminals logged into Dikian’s
  HostGator web hosting account seven times, using the credentials of Daniel Rapaport, Dikian’s
  former web developer. All activity during that period was performed through Rapaport’s
  credentials. This is explained by the fact that Dikian provided Rapaport those credentials by
  email in 2017, and these credentials were apparently acquired from the ‘Sent Items’ folder by the
  cybercriminal when the Yahoo! Account was compromised. (Attachment 7).
         The cybercriminals used the same ISPs and IP addresses to log into the HostGator
  account as were controlling the George.Dikian@gmail.com account, and which had
  compromised g.dikian@yahoo.com:




  (IP Analysis, Attachment 3).

          HostGator support confirmed that user had created the subdomain “Intermediar.89.com”
  and then three days later suspended both that subdomain and 89.com, apparently in order to
  create the false impression to VPN.com that the names were in escrow at the fake escrow service
  Intermediar.com.




  This HostGator support record is further corroborating proof that someone other than Dikian was
  able to access both the HostGator and Yahoo! Mail account, and also created the new Gmail
  account, in furtherance of the alleged fraud.


  June 26, 2023                                                                                       9
Case 2:22-cv-04453-AB-MAR Document 53-7 Filed 07/21/23 Page 10 of 10 Page ID #:388


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           Between March 11, 2022 and May 8, 2022, only 4 emails from the purported seller (using
   george.dikian@gmail.com) were copied to g.dikian@yahoo.com. It appears the fraudster was
   careful to omit that Yahoo! Mail address from correspondence that they initiated during that
   period. Sometime after discovering that his Yahoo! Mail account had been compromised,
   Dikian says that he discovered a number of email filters had been created to delete and/or
   obfuscate incoming emails. That is a common tactic to prevent such emails from being visible to
   the victim of a compromised account, and also would have prevented Dikian from responding to
   those emails.

           However, on May 8, 2022, Sharjil Saleem (from VPN.com) copied the
   g.dikian@yahoo.com address on a flurry of correspondence, and Dikian promptly alerted
   VPN.com to the hack on May 12, 2022:




   I certify that I am competent to analyze the aforementioned factual information, and that my
   expertise in cybersecurity informs the above opinions.

   Signed, this 26th day of June, 2023.


   By:____________________________
         Rod Rasmussen
         Principal, R2 Cyber




   June 26, 2023                                                                                  10
